






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00459-CV






Kevin Allan Smith, Appellant


v.


Dale Lee Jaschke, Appellee






FROM THE COUNTY COURT AT LAW NO. 4 OF WILLIAMSON COUNTY

NO. 05-1556-CC2-4, HONORABLE JOHN MCMASTER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	The trial court signed its judgment on March 8, 2007, and appellant timely filed his
notice of appeal on June 6.  After some delay, the clerk's record was filed on October 9, making
appellant's brief due on November 8.  On November 26, this Court received appellant's motion for
extension of time to file his brief, which was mailed on November 13.  Appellant requested until
November 28 to file his brief, but neglected to include a certificate of conference, which we
requested on November 26.  On November 29, we received from appellee a "Certificate of Non-Conference," stating that appellant did not confer with appellee before submitting his motion for
extension of time but that appellee would have agreed to the extension if appellant had asked. 
Appellee also alleged that appellant had mischaracterized the underlying proceedings.  Appellant
never responded to appellee's filing or to this Court's request for a certificate of conference, see
Tex.&nbsp;R. App. P. 10.1(a)(5), nor has he proffered a brief for filing.  On January 11, 2008, appellee
filed a motion to dismiss for want of prosecution.  To date, appellant has not responded to appellee's
motion or communicated with this Court in any form since filing the incomplete motion for
extension of time.  We therefore grant appellee's motion and dismiss the appeal for want of
prosecution.  See Tex. R. App. P. 42.3(b).  


					__________________________________________

					David Puryear,  Justice

Before Justices Patterson, Puryear and Henson

Dismissed on Appellee's Motion

Filed:   January 31, 2008


